UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                     -v-                                         21-CR-706 (JPO)

 BRIAN BENJAMIN,                                             OPINION AND ORDER
                               Defendant.


J. PAUL OETKEN, District Judge:

       The January 23, 2023 trial is hereby adjourned sine die pending resolution of the

government’s appeal of this Court’s opinion and order dated December 5, 2022. Pretrial filing

deadlines are also adjourned pending that appeal. Currently pending motions and related

briefing will be held in abeyance pending further order.



       SO ORDERED.

Dated: December 7, 2022
       New York, New York

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                                                        J. PAUL OETKEN
                                                    United States District Judge
